            Entered on Docket January 18, 2018
                                                             Below is the Order of the Court.



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                                                              _____________________
                                                              Brian D. Lynch
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                                                              U.S. Bankruptcy Judge
                                                              (Dated as of Entered on Docket date above)
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                                  UNITED STATES BANKRUPTCY COURT
6                             WESTERN DISTRICT OF WASHINGTON AT TACOMA
         _____________________________________________________________________________
7        In re:
                                                                       Case No. 17-44721-BDL
8        OLYMPIA OFFICE LLC;                                                 Lead Case
         WA PORTFOLIO LLC;
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         MARINERS PORTFOLIO LLC and                         ORDER GRANTING MOTION FOR RELIEF
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         SEAHAWK PORTFOLIO LLC                                        FROM STAY
                                  Debtors.
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                  MLMT 2005-MCP1 Washington Office Properties, LLC (“Noteholder”) filed a motion
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     seeking Relief from Stay, or in the alternative dismissal, (ECF No. 30) in each of these now-
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     jointly administered cases.1 Debtors have opposed the motion. (ECF No. 58). A hearing on
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     the motion was held on January 18, 2018. The Court, having considered the record and
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     pleadings on file, and having heard the argument of counsel, announced findings of fact and
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     conclusions of law on the record at the conclusion of the hearings.                    Those findings and
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     conclusions are incorporated herein by reference. Now, therefore, it is hereby
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                  ORDERED that Noteholder is granted relief from the automatic stay in each of the
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     jointly administered cases in order to pursue its collateral. The 14-day stay of this order under
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     Fed. R. Bankr. P. 4001(a)(3) is not waived.
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                  It is further ORDERED that the motion to dismiss these cases is continued for further
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     hearing before this Court on February 14, 2017 at 9:00 a.m.
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     1In re Olympia Office LLC Case no. 17-44721-BDL; In re WA Portfolio LLC Case no. 17-44722-BDL; In re
     Mariners Portfolio Case No. 17-44723-BDL and In re Seahawk Portfolio Case No. 17-44724-BDL.



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1           Debtors or any person or entity acting on their behalf are prohibited from taking any
2    action to transfer the Properties (as defined in Noteholder’s motion) without the prior approval
3    of this Court, after notice and an opportunity to be heard.
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5                                        /// End of Order ///
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     ORDER GRANTING RELIEF FROM STAY - 2
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